Case 3:24-cv-00038-MEM Document 1-4 Filed 01/09/24 Page 1of3

EXHIBIT “C”
Case 3:24-cv-00038-MEM Document 1-4 Filed 01/09/24 Page 2 of 3

THE BALTIMORE LIFE INSURANCE COMPANY
Accidental Death Benefit Rider K\
For Flexible Premium Adjustable Life Policy KN
Basic Rider Facts X

This rider, which provides accidental death coverage on the Insured, includes the attached copy of the
application. It adds a benefit to and is part of the policy to which it is attached.

The rider date is the date this rider goes into effect. It is the policy date unless a different date is shown on the
Policy Data Page. A rider anniversary occurs each year on the rider date.

Rider expiry date is the date all coverage under this rider will end. The rider expiry date is shown on the
Policy Data Page.

Rider Termination. Coverage under this rider ends when the first of the following occurs:

e onthe policy anniversary following the Insured's 70th birthday;
e you request to end the rider; or

e the policy ends.
The Insured. The Insured is the person insured under this policy.

The Owner. You, the Owner of the policy, are also the Owner of this rider.

ACCIDENTAL DEATH BENEFIT

We'll pay the accidental death benefit to the Beneficiary when we receive proof of the accidental death of the
Insured.

The death must occur:
e while this rider is in effect;
e before the rider anniversary following the Insured's 70th birthday;
e solely through external, violent and accidental bodily injury; and

e within 90 days after the injury.
Amount of Benefit

We'll pay the accidental death benefit under this rider in addition to the death benefit of this policy.
This accidental death benefit is shown on the Policy Data Page.

Death Not Covered by This Benefit

This benefit will not apply to a death that results solely or partly from:

FORM 3229S 1

Case 3:24-cv-00038-MEM Document 1-4 Filed 01/09/24 Page 3 of 3
e suicide, or attempted suicide, while sane or insane:
e injury that occurred before the rider date;

e mental or bodily infirmity, illness, disease or infection. However, we will cover death from
an infection which occurs directly as the result of an accidental cut or wound;

e the voluntary taking, administering, absorbing, or inhaling of poisons, gases or fumes
(except for on-the-job accidents),

e the voluntary taking of any drug not prescribed for the Insured by a doctor;

e the voluntary taking of any drug prescribed for the Insured by a doctor and intentionally not
taken as prescribed;

e medical or surgical treatment:

e committing or attempting to commit an assault or felony;

e war (declared or undeclared) or other armed conflict, insurrection or participating in a riot;
e service in any armed force engaged in a military conflict, whether or not declared; or

e travel or flight in or descent from any kind of aircraft if the Insured has any duties on board,
or is flying in the course of any training or instruction, or in maneuvers of any armed force.

Physical Examination

To determine if the death is accidental, we can authorize an autopsy or examination of the body at
our own expense and where permitted by law.

ACCIDENTAL DEATH BENEFIT
RIDER COST OF INSURANCE

We will determine the monthly accidental death benefit rider cost on each monthly anniversary of the
rider date based on the age of the Insured on the last rider anniversary date.

On each monthly anniversary of the rider date, the accidental death benefit rider cost will become part
of the Monthly Deduction for this policy for the preceding month.

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President

FORM 3229S 2

